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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA



 In re: Cattle and Beef Antitrust Litigation         Case No. 20-cv-1319 (JRT/JFD)
                                                     Case No. 22-md-3031 (JRT/JFD)
 This Document Relates to:
 ALL ACTIONS                                            PRETRIAL ORDER NO. 1
                                                      ORDER FOR CONSOLIDATION




       This Order shall govern the practice and procedure in those actions that the Judicial

Panel on Multidistrict Litigation (“JPML”) transferred to this Court in its Order of June 3,

2022, as well as all related actions originally filed, transferred, or removed to this Court.

This Order shall also apply to any tag-along actions later filed in, removed to, or

transferred to this Court. All such actions shall be referred to in this Order as the “MDL

Cases.”

       I.     Background

       Beginning in 2019, a series of class actions and individual actions were filed against

the leading American beef packers alleging a conspiracy to generate unprecedented beef

profit margins and manipulate the live cattle futures markets in violation of federal and

state antitrust laws as well as the Packers & Stockyards Act and Commodity Exchange Act.

See, e.g., In re Cattle & Beef Antitrust Litig., No. 20-1319, 2021 WL 7757881, at *1 (D.

Minn. Sept. 14, 2021). Pursuant to Federal Rule of Civil Procedure 42(a), the Court began

by consolidating the direct purchaser plaintiff cases filed in the District of Minnesota for
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pretrial proceedings in September 2021 under Case No. 20-cv-1319, which it renamed In

re DPP Beef Litigation. (See, e.g., Case No. 19-cv-1222, Order to Consolidate Cases, Sept.

1, 2021, Docket No. 408.) The Cattle Class Plaintiffs, Consumer Indirect Purchaser Class

Plaintiffs, Commercial and Institutional Indirect Purchaser Class Plaintiffs, and some direct

action plaintiffs requested all cases be coordinated for pretrial purposes to simplify the

proceedings. (Case No. 20-cv-1319, Stip., Oct. 8, 2021, Docket No. 246.) The Court agreed

coordination would be efficient and coordinated the cases for pretrial proceedings under

Case No. 20-cv-1319, which it renamed to In re Cattle and Beef Antitrust Litigation. (Case

No. 20-cv-1319, Order on Stip., Oct. 13, 2021, Docket No. 252.) The Order on Stipulation

Regarding Coordination, Responding to Complaints, and Case Management provided that

related “filed in, removed to, or transferred to this Court” would be coordinated with

Case No. 20-cv-1319. (Id. ¶¶ 8–11.)

       In 2022, additional cases brought by individual plaintiffs were filed in other federal

district courts involving the same issues. (Case No. 22-md-3031, Certified Copy of

Transfer Order at 1 (“Transfer Order”), June 3, 2022, Docket No. 1.) Pursuant to 28 U.S.C.

§ 1407(a), the JPML formed MDL No. 3031 and transferred three cases to this Court on

June 3, 2022, finding that the cases involved common questions of fact and centralization

in this Court would “serve the convenience of the parties and witnesses and promote the

just and efficient conduct of this litigation.” (Id.) The JPML noted additional potential

tag-along actions. (Id. at 1 & n.1.)

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       In its initial Transfer Order, the JPML concluded that transfer to this Court would

best accomplish the purposes of MDL centralization under 28 U.S.C. § 1407, because this

Court has presided over the coordinated and consolidated Minnesota litigation since

2019. (Id. at 2.) Although the direct action plaintiffs before the JPML requested an MDL

consisting solely of direct purchaser plaintiff actions and coordination with the In re DPP

Beef plaintiffs only, the JPML rejected this proposal, emphasizing that “[i]f allowed to

proceed separately, as requested by movants, the individual direct purchaser actions

likely would involve duplicative discovery and potentially inconsistent pretrial rulings.”

(Id.) Accordingly, the JPML transferred the actions to this Court for “coordinated or

consolidated pretrial proceedings” and named the MDL it created “In re: Cattle and Beef

Antitrust Litigation.” (Id.)

       II.    Consolidation

       The purpose of MDL centralization is to “eliminate duplicative discovery, avoid

inconsistent pretrial rulings, and conserve the resources of the parties, their counsel and

the judiciary.” In re Vioxx Prod. Liab. Litig., 360 F. Supp. 2d 1352, 1354 (J.P.M.L. 2005);

see also In re Pork Antitrust Litig., No. 18-1776, 2021 WL 5310590, at *2 (D. Minn. Nov.

14, 2021). Once transferred, the JPML leaves “the extent and manner of coordination or

consolidation of these actions to the discretion of the transferee court.” In re Vioxx, 360

F. Supp. 2d at 1354.




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       Under Federal Rule of Civil Procedure 42, if “actions before the court involve a

common question of law or fact, the court may: (1) join for hearing or trial any or all

matters at issue in the actions; (2) consolidate the actions; or (3) issue any other orders

to avoid unnecessary cost or delay.” Fed. R. Civ. P. 42(a). Rule 42 permits consolidation

even if the claims arise out of independent transactions. Madison v. Hennepin Cnty., No.

02-4756, 2003 WL 21639221, at *1 (D. Minn. July 1, 2003). When deciding whether to

consolidate cases, courts consider the risk of inconsistent rulings and the burden on and

cost to parties, witnesses, and the court. Chill v. Green Tree Fin. Corp., 181 F.R.D. 398,

405 (D. Minn. 1998) (citing Cantrell v. GAF, 999 F.2d 1007, 1011 (6th Cir. 1993)).

“Consolidation is inappropriate, however, if it leads to inefficiency, inconvenience, or

unfair prejudice to a party.” EEOC v. HBE Corp., 135 F.3d 543, 551 (8th Cir. 1998). Under

Rule 42(a), “[d]istrict courts enjoy substantial discretion in deciding whether and to what

extent to consolidate cases.” Hall v. Hall, 138 S. Ct. 1118, 1131 (2018).

       The Court concludes that the MDL Cases should be consolidated for pretrial

purposes only. Given the significant overlap of factual and legal issues, the JPML’s

Transfer Order recognized that coordination or consolidation of all actions would avoid

duplicative discovery and the potential for inconsistent rulings and simplify the

proceedings for the Court, the parties, and non-parties. A single master docket where the

Court can exercise the “powers of a district judge in any district for the purposes of




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conducting pretrial depositions,” 1 best serves to secure the just, speedy, and inexpensive

determination of these actions. 28 U.S.C. § 1407(b); Fed. R. Civ. P. 1. To the extent

consolidation will introduce new complexities, the Court can accommodate any case

management issues as they arise through the plethora of tools at its disposal to ensure

each member case is resolved on its own legal theories and merits and decrease the risk

of delay. See In re: Darvocet, Darvon & Propoxyphene Prod. Liab. Litig., 780 F. Supp. 2d

1379, 1381 (J.P.M.L. 2011); In re: Checking Acct. Overdraft Litig., 626 F. Supp. 2d 1333,

1335 (J.P.M.L. 2009). Whereas consolidation is appropriate to fulfill the purposes of Rule

1, Rule 42, and 28 U.S.C. § 1407 by increasing efficiency, decreasing the burdens and costs

to parties, nonparties, witnesses, and the Court, and decreasing the risk of inconsistent

rulings, the Court hereby consolidates the MDL Cases for pretrial purposes only. Any tag-

along actions later filed in, removed to, or transferred to this Court, or directly filed in this

Court, will automatically be consolidated with these MDL Cases without the necessity of

further motions or orders. This consolidation does not constitute a determination that

these MDL Cases should be consolidated for trial, nor does it have the effect of making




       1  Although the language of 28 U.S.C. § 1407(b) only explicitly grants authority to the MDL
judge to oversee nonparty depositions outside its district, this grant of authority is generally
understood to apply to all pretrial proceedings including nonparty, document-only subpoenas.
See United States ex rel. Pogue v. Diabetes Treatment Ctrs. of Am., Inc., 444 F.3d 462, 469 n.4 (6th
Cir. 2006); In re Disposable Contact Lens Antitrust Litig., 306 F. Supp. 3d 372, 378 (D.D.C. 2017)
(collecting cases); In re Bank of N.Y. Mellon Corp. Forex Transactions Litig., No. 11-9175, 2014 WL
2884726, at *1 (S.D.N.Y. June 26, 2014) (collecting cases).
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any person or entity a party to any action in which he, she, they, or it has not been named,

served, or added in accordance with the Federal Rules of Civil Procedure.

       III.     Master Docket

       The Clerk of Court is directed to consolidate the MDL Cases for pretrial proceedings

before Judge John R. Tunheim and Magistrate Judge John F. Docherty 2 under a master

docket case under the style “In re: Cattle and Beef Antitrust Litigation” and the

identification “Case No. 22-md-3031.” The Clerk of Court is directed to transfer all

documents in Case No. 20-cv-1319 and its member cases to the master docket.

           When an action that properly belongs as part of In re: Cattle and Beef Antitrust

 Litigation is filed in this District of Minnesota or transferred here from another court,

 the Clerk of Court shall:

   1. docket a copy of this Order in the separate file for such action,

   2. make an appropriate entry in the docket for Case No. 22-md-3031 that a new case

       has been assigned, and

   3. note on the docket of the new action that, upon entry of this Order, all papers shall

       be filed in Case No. 22-md-3031 and no further papers shall be filed in that

       individual case docket.




       2 For over three years, the Honorable Hildy Bowbeer handled pretrial case management
issues arising out of the consolidated and coordinated cattle and beef actions. In light of her
retirement, those duties shall pass to the Honorable John F. Docherty.
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       All future filings shall be filed in Case No. 22-md-3031 and shall be considered filed

in each individual case. Future filings should not be separately docketed in the individual

cases or with the Transferor District Court.        Any pleading or paper shall be filed

electronically according to this district’s Electronic Case Filing Procedures Guide (Civil

Cases), CM/ECF Civil Manual for New Users, and Sealed Civil User’s Manual.3 When a filing

is intended to be applicable to all actions, this shall be indicated by the words “This

Document Relates to: ALL ACTIONS” and shall be filed electronically in Case No. 22-md-

3031. When a filing is intended to apply to fewer than all cases, this Court’s civil action

case number and name for each individual case or group of cases to which the

document(s) relate shall appear immediately after the words: “This Document Relates

to:.” The following is a sample of the pleading style for documents filed in the master

docket:




       3   Available at https://www.mnd.uscourts.gov/reference-guides-and-procedures.


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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA




In re: Cattle and Beef Antitrust Litigation             Case No. 22-md-3031 (JRT/JFD)


This Document Relates to:
ALL ACTIONS



      IV.      Appearances

      The Clerk of Court is directed to add all Plaintiffs, Defendants, and their attorneys

of record from Case No. 20-cv-1319 to Case No. 22-md-3031 to the extent they are not

duplicative. All pro hac vice admissions in Case No. 20-cv-1319 are valid for Case No.

22-md-3031. Counsel who appeared in a Transferor District Court prior to transfer by

the JPML need not enter an additional appearance before this Court. Attorneys

admitted to practice and in good standing in any United States District Court are

admitted pro hac vice in this Consolidated Action. Association of local co-counsel is

not required. Counsel in a newly filed or transferred action shall complete (1) the MDL

Registration Form 4 and (2) the Notice of Appearance form. 5        After completing the




      4   Available at https://www.mnd.uscourts.gov/forms/mdl-registration-form.
      5   Available at https://www.mnd.uscourts.gov/forms/notice-appearance.
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 Registration Form, counsel will receive a CM/ECF log-in enabling them to electronically

 file the Notice of Appearance.

       Counsel appearing in this action are expected to familiarize themselves with all

 prior Court orders and proceedings, as well as the Local Rules of the District of

 Minnesota, the Court’s Practice Pointers, 6 as well as the American Bar Association’s

 Civil Discovery Standards and the Manual for Complex Litigation (4th ed. 2004), which

 may serve as a resource in the case management of this litigation.

           V.   Prior Orders

       Any orders, including protective orders, previously entered by this Court or any

transferor court, shall remain in full effect unless modified by this Court.

       VI.      Extension of Time; Stay

       Plaintiffs and Defendants are granted an indefinite extension of time to respond

to any pending motion or to answer or respond to any properly served pleading until this

Court sets a date by which each party shall so respond.          All outstanding discovery

proceedings are hereby stayed.         No further discovery shall be initiated until a

comprehensive Case Management Order is entered by this Court.




       6 The local rules may be found here: https://www.mnd.uscourts.gov/court-info/local
-rules-and-orders. Judge Tunheim’s practice pointers may be found here: https://www
.mnd.uscourts.gov/sites/mnd/files/JRT.pdf. Judge Docherty’s practice pointers may be found
here: https://www.mnd.uscourts.gov/sites/mnd/files/JFD.pdf.
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          VII.    Preservation of Evidence

          All parties and their counsel are reminded of their duties to preserve evidence

 that may be relevant to these MDL Cases and to ensure that the appropriate

 preservation orders are in place. All documents, data and other tangible items

 containing information potentially relevant to the subject matter of this litigation shall

 be preserved.

          VIII.   Initial Case Management Conference

          Judge John R. Tunheim and Magistrate Judge John F. Docherty will hold an Initial

Case Management Conference on October 14, 2022, at 10:00 a.m., U.S. Central Time, in

Courtroom 14E of the Diana E. Murphy United States Courthouse, 300 South Fourth

Street, Minneapolis, MN 55415. In preparation for the Initial Case Management

Conference, the parties shall prepare a submission to the Court (one submission for Class

Plaintiffs, one submission for Direct Action Plaintiffs, 7 and one submission for

Defendants), to be filed no later than October 12, 2022, which addresses the following

issues:

              1. An overview of the procedural status of all actual and potential cases that

                  have been or are anticipated to be transferred to or filed in this district for

                  coordination with this MDL;



          7 For the avoidance of doubt, direct action plaintiffs include non-class plaintiffs who
initially filed in this District, including Winn-Dixie Stores, Inc. and Bi-Lo Holdings, LLC.
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  2. An overview of the status of discovery in all MDL Cases to date;

  3. An overview of the status of any motions, orders, or other events of import

     in the MDL Cases to date;

  4. The status of any related state-court litigation, if any, to date;

  5. A proposed case management order which addresses the timing of initial

     disclosures, the timing of fact and expert discovery, the quantity of written

     discovery, the number of proposed fact and expert depositions, a protocol

     for the preservation of, collection of, and production of electronic

     discovery, stipulations regarding any matters, the coordination with state

     court litigation, the extent to which any plaintiff or group of plaintiffs should

     have different deadlines, and the time by which future direct action

     plaintiffs must appear and object to agreed-to or court-ordered limits on

     discovery or deadlines or be bound by those agreement or orders;

  6. A description of any settlement efforts to date;

  7. A proposed agenda for the Initial Case Management Conference;

  8. A list of all counsel of record for each Plaintiff, Class, Defendant, or group of

     parties sharing common representation, including any monikers used to

     identify particular groups of parties (e.g., Consumer Indirect Plaintiffs,

     Winn-Dixie DAPs, JBS Defendants, etc.), if any;




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      9. A proposed leadership structure for Class Plaintiffs’ counsel, Direct Action

         Plaintiffs’ counsel, and Defendants’ counsel. The proposed leadership

         structure should propose a slate of individuals to lead each group, as well

         as a steering committee for the litigation as a whole and liaison counsel for

         coordination with the Court. Recommendations to the Court shall be

         accompanied by each nominee’s resume or curriculum vitae, educational

         background, licensing status, a description of relevant experience, a brief

         overview of the resources the counsel has available to contribute to the

         litigation; and a certificate of good standing from the highest court from the

         individuals’ jurisdiction. These recommendations should not be filed with

         the Clerk of Court, but instead should be submitted to the Court via email.

         Certificates of good standing need not be submitted by October 12, 2022,

         but must be submitted as soon as practicable thereafter;

      10. Whether a Master Complaint should be filed; and

      11. A schedule of status conferences to be conducted approximately every 30

         days via ZoomGov for the remainder for the 2022 calendar year and 2023

         calendar year, notwithstanding the parties’ ability to ask that any given

         status conference be cancelled or postponed closer to that date.

IX.      Service




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       Prior to the initial pretrial conference, service of all papers relating to the initial

conference shall be made on counsel of record appearing in the MDL Cases. The docket

is the official record of the service list. This paragraph does not pertain to or alter the

requirements for service of process of any summons and/or complaint.

      X.      Communications

      Unless otherwise ordered, counsel must communicate with the Court in writing,

 with courtesy copies to all counsel. Communications with the Court and submissions

 which are not to be filed with the Clerk may be sent to:

 tunheim_chambers@mnd.uscourts.gov and docherty_chambers@mnd.uscourts.gov.

        The Court directs the Clerk of Court to send a copy of this Order to the Clerk of

 the Judicial Panel on Multidistrict Litigation and counsel of record.



DATED: October 4, 2022                                   s/John R. Tunheim
at Minneapolis, Minnesota.                                JOHN R. TUNHEIM
                                                             District Judge
                                                      United States District Court

DATED: October 4, 2022                                    s/John F. Docherty
at Saint Paul, Minnesota                                  JOHN F. DOCHERTY
                                                           Magistrate Judge
                                                      United States District Court




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